FARMERS ELEVATOR CO., PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Farmers Elevator Co. v. CommissionerDocket No. 13424.United States Board of Tax Appeals13 B.T.A. 1079; 1928 BTA LEXIS 3106; October 17, 1928, Promulgated *3106 Held, that at the date of the deficiency notice the statute of limitations had run against the assessment and collection of any additional taxes.  Fred T. Ley &amp; Co.,9 B.T.A. 749"&gt;9 B.T.A. 749. C. H. Preston, C.P.A., for the petitioner.  Arthur H. Murray, Esq., for the respondent.  LANSDON *1079  The respondent asserts a deficiency in income and profits tax for the fiscal year ended June 30, 1921, in the amount of $78.28.  The only issue is whether the statute of limitations had run against the deficiency at the date of the deficiency notice.  The following stipulation of the parties is accepted and adopted by the Board as its FINDINGS OF FACT.  1.  Petitioner is a Minnesota corporation with its principal office at Brewster.  2.  The taxes in controversy are income and excess-profits taxes for the fiscal year ended June 30, 1921, and amount to $78.28.  3.  Petitioner prepared its return for the fiscal year June 30, 1921, in accordance with the then existing requirements of the Revenue Act of 1918, and said return was filed with the collector of internal revenue on August 25, 1921.  4.  That petitioner had established its fiscal*3107  year by closing its books and reporting its income on years ending June 30, which fiscal year basis had been accepted by respondent for several years preceding the fiscal year ended June 30, 1921.  5.  That subsequent to the filing of the return referred to in paragraph 3 hereof, and subsequent to the enactment of the Revenue Act of 1921, no other or further return for the fiscal year ended June 30, 1921, was filed by petitioner with the collector of internal revenue.  6.  The deficiency letter was mailed to petitioner on February 2, 1926.  7.  The deficiency in controversy resulted from the disallowance by respondent of certain bad debts deducted by petitioner in its return filed for the fiscal year ended June 30, 1921, under the provisions of the Revenue Act of 1918.  8.  That no waiver of the statutory limitation period on assessment or collection of the 1921 income or excess-profits taxes was executed or filed by petitioner with respondent.  *1080  OPINION.  LANSDON: The stipulation here establishes a state of facts on all fours with the record in the proceeding of *3108 , and that of . On the authority of our decisions in such proceedings we hold that in this proceeding the statute of limitations had run at February 2, 1926.  Decision will be entered for the petitioner.